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                                    TALKIN, MUCCIGROSSO                    &    ROBERTS, f;:y
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ELLICOTT CITY, MO 21042                                       October 14, 2020                                           HACKENSACK, NJ 071501
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        Honorable Colleen McMahon
        Chief United States District Judge
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        Southern District of New York                     ,,. - ... - ,.   ,-... - ~ r-. ,__.,

        500 Pearl Street
        New York, New York 10007

        BYECF
                                                  Re:         United States v. James Cahill
                                                              20 Cr. 521 (CM)
        Dear Judge McMahon:

                        Defendant James Cahill ("Cahill") is currently at liberty on a fully secured $500,000
        Appearance Bond that contains several conditions including home detention with permission to leave
        his home for specific approved purposes and a restriction of travel to the Southern and Eastern
        Districts of New York. By this letter, Cahill respectfully requests petmission to leave the home on a
        specified day of the week for a specified period of time, as approved by Pretrial Services ("PTS"), to
        shop for groceries and necessities at three stores, the names and locations of which have been provided
        to the government and PTS. One of the stores is a pharmacy that is located only a few miles from
        defendant's home but is in New Jersey. As result, Cahill also respectfully requests that he be
        permitted to travel to New Jersey for the purpose of shopping and picking up medicine at this
        pharmacy. Cahill will only travel to these locations with prior approval of PTS and will provide PTS
        with receipts for all purchases.       The government, by Assistant United States Attorney Jason
        Swergo1d, and Pretrial Services, by United States Pretrial Services Officer Winter Pascual, consent
        to these applications.

                            Thank you for Your Honor's consideration of these requests.


                                                             Very truly yours,

                                                             S~~ T ~
                                                             Sanford Talkin

        cc:       AUSA Jason Swergold (by ECF)
                  USPTO Winter Pascual (by email)
